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3                             UNITED STATES DISTRICT COURT
4                                    DISTRICT OF NEVADA
5     FERNANDO ROBLES,                                Case No. 3:19-cv-00251-MMD-CLB
6                                     Petitioner,                   ORDER
            v.
7
      WARDEN BAKER, et al.,
8
                                  Respondents.
9

10         Good cause appearing, Respondents’ unopposed first Motion for Enlargement of
11   Time (ECF No. 31) is granted. Respondents have until December 10, 2020, to answer
12   the surviving claims of Petitioner’s First Amended Petition (ECF No. 8).
13         DATED THIS 27th day of October 2020.
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16                                            MIRANDA M. DU
                                              CHIEF UNITED STATES DISTRICT JUDGE
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